Case 5:17-mc-OOOO4-L.]A Document 1-1 Filed 08/14/17 Page 1 of 7

IN THE UNITED sTATEs DISTRIC collar
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(Write the Distrt`ct and Division, ifany, of
the court in which the complaint is filed )

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Complaint for Violation of Civil
Rights
(Non-Prisoner Complaint)

 

 

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this compiaint. § the names of aii the piaintijj"s Case NO_
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(check one)

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NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting
from public access to electronic court files Under this rule, papers titled with the court should
not contain: an individual’s full social security number or full birth date; the full name of a
person known to be a minor; or a complete financial account number. A filing may include
oniy: the last four digits of a social security number; the year of an individual’s birth; a
minor’s initials; and the last four digits ofa financial account number.

Plaintiff need not send exhibits, afiidavits, grievance or witness statements, or any other
materials to the Clerk’s Off`lce with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an
application to proceed in forma pauperis

 

 

 

Case 5:17-mc-OOOO4-L.]A Document 1-1 Filed 08/14/17 Page 2 of 7

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint Attach
additional pages if needed.

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City and County
State and Zip Code

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E-mail Address QO`Q)¥:£€;~£JAAQDML§Q\:ULM

B. The Defendant(s)

 

 

 

 

 

          
   

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation For an individual defendant, include the person’s job or title (if
known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if
needed

Defendant No. l

Name ,/"\3€! l 3 f bend \’-\__oo,_ eo£c°ri<fe

 

   

Job or Title _.__ _ .___
(if known) v 1 _ _ 1 ,

Street Address ¢/`i)`| 00 W .D\.-.\QM\\
City and County l \ .

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Defendant No. 2

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Case 5:17-mc-OOOO4-L.]A Document 1-1 Filed 08/14/17 Page 3 of 7

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Defendant No. 3

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tab or rifle O(`>\~l\(:

(if known)

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Defendant No. 4

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Telephone Number \-(i)>jq) "'(`i.:)ri' riJ`i i \

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II.

Case 5:17-mc-OOOO4-L.]A Document 1-1 Filed 08/14/17 Page 4 of 7

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any
rights, privileges, or immunities secured by the Constitution and [federal laws].” Under
vaens v. Six Unknown Named Agent.s ofFederaf Bureau of Narcon'cs, 403 U.S. 388
(1971), you may sue federal officials for the violation of certain constitutional rights

A. Are you bringing suit against (ckec!c all that apply):

E’ Federai officials (a Bl'vens claim)
El/ state or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws]." 42 U.S.C. § 1983. If
you are suing under section 1983, what federal constitutional or statutory right(s)
do you claim is!are being violated by state or local officials?

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C. Plaintiffs suing under Bivens\ may only recover for the vio ationQ) certain
constitutional rights. If you arc suing under Bz`vens, what constitutional right(s)
do you claim is!are being violated by federal officials?

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D. Section 1983 allows defendants to be found liable on y when they have acre
“under color of any statute, ordinance, regulation, custom, or usage, of any State
or Territory or the District ofColumbia.” 42 U.S.C. § 1933. If you are suing
under section 1983, explain how each defendant acted under color of state or local
law. lf you are suing under Bl'vens, explain how each defendant acted under color
of federal law. Attach additional pages if needed.

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III.

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Statement ofClaim 050th AC¢_\,;\| z_\q';f:$ CL(°\C§ O(BOQ,ZCC} opm

State as briefly as possible the facts of your case. Describe how each defendant was
personally involved in the alleged wrongful action, along with the dates and locations of
all relevant events. You may wish to include further details Such as the names of other
persons involved in the events giving rise to your claims. Do not cite any cases or
statutes. If` more than one claim is asserted, number each claim and write a short and
plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. Where did the events giving rise to your claim(s) occur?
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B. What date and approximate time did the events giving rise to your claim(s) occur? @®J`| Lp

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C. What are the facts underlying your claim(s)? (For example l/W:ar happened to
you? Who did what? Was anyone else involved? Who else saw what happened?)

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IV.

VI.

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Case 5:17-mc-OOOO4-L.]A Document 1-1 Filed 08/14/17 Page 6 of 7

Injuries

lf you sustained injuries related to the events alleged above, describe your injuries and
state what medical treatment, if any, you required and did or did not receive

   
  

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State briefly what you want the court to do for you. Make no legal arguments. Do not

cite any cases or statutes. If requesting money damages, include the amounts of any

actual damages andfor punitive damages claimed for the acts alleged Explain the basis
for these claims.

 

 

 

 

 

Certitication and Closing

Under Federal Rule of Civil Procedure l 1, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (l) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule ll.

Case 5:17-mc-OOOO4-L.]A Document 1-1 Filed 08/14/17 Page 7 of 7

A. For Parties Without an Attorney

I agree to provide the Clerk’s Oft'lce With any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Off`lce may result in the dismissal of my case.

Date of signing:

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signature ofpiaimirf _ llii_/lf\\ [:-i 0 (:) am \ }/\
Primed Name ofi>iaintiff l ' ll (_
B. For Attorneys

Date ofsigning: , 20_

Signature of Attomey

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Address

 

Telephone Number

 

E-mail Address

 

